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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     SOMACHY KEO
 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,        )   CR.S. 08-512-JAM
11                                    )
                    Plaintiff,        )   STIPULATION AND ORDER
12                                    )   TO EXTEND TIME FOR STATUS
          v.                          )   CONFERENCE AND EXCLUDE TIME
13                                    )
     SARET NOSAR, et al.,             )   DATE: April 21, 2009
14                                    )   Time: 9:30 a.m.
                    Defendant.        )   Judge: John A. Mendez
15   ______________________________
16

17        Defendant SOMACHY KEO by and through his counsel, DENNIS S.
18   WAKS, Supervising Assistant Federal Defender, MICHAEL D. LONG,
19   attorney for SARET NOSAR, EDWARD M. ROBINSON, attorney for KANARY
20   KHIN, ROBERT S. ERNENWEIN, attorney for SEAN EANG, CLARENCE
21   EMMETT MAHLE, attorney for PANG YEAN and the United States
22   Government, by and through its counsel, BENJAMIN WAGNER,
23   Assistant United States Attorney, hereby stipulate that the
24   status conference set for February 10, 2009 be rescheduled for a
25   status conference hearing on Tuesday, April 21, 2009 at 9:30 a.m.
26        This continuance is being requested because defense counsel
27   requires additional time to review discovery and to conduct
28   further investigation on this case.      Also, there is no Cambodian

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 1   Interpreter available for court on February 10, 2009.
 2        Speedy trial time is to be excluded from the date of this
 3   order through the date of the status conference hearing set for
 4   April 21, 2009 pursuant to 18 U.S.C. § 3161 (h)(8)(B)(iv),
 5   [reasonable time to prepare] (Local Code T4).
 6   DATED: February 5, 2009
 7                                       Respectfully Submitted,
 8                                       DANIEL J. BRODERICK
                                         Federal Defender
 9
                                         /s/ Dennis S. Waks
10                                       Supervising Assistant
                                         Federal Defender
11                                       Attorney for Defendant
                                         SOMACHY KEO
12
     DATED:    February 5, 2009          /s/ Dennis S. Waks on behalf of
13                                       MICHAEL D. LONG
                                         Attorney for Defendant
14                                       SARET NOSAR
15   DATED:    February 5, 2009          /s/ Dennis S. Waks on behalf of
                                         EDWARD M. ROBINSON
16                                       Attorney for Defendant
                                         KANARY KHIN
17

18   DATED:    February 5, 2009          /s/ Dennis S. Waks on behalf of
                                         ROBERT S. ERNENWEIN
19                                       Attorney for Defendant
                                         SEAN EANG
20

21   DATED:    February 5, 2009          /s/ Dennis S. Waks on behalf of
                                         CLARENCE E. MAHLE
22                                       Attorney for Defendant
                                         PANG YEAN
23   / / /
24   / / /
25   / / /
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 1   DATED:    February 5, 2009          LAWRENCE G. BROWN
                                         Acting United States Attorney
 2

 3                                       /s/ Dennis S. Waks on behalf of
                                         BENJAMIN WAGNER
 4                                       Assistant U.S. Attorney
 5
     SO ORDERED.
 6

 7   Dated: February 5, 2009
 8                                       /s/ John A. Mendez
                                         JOHN A. MENDEZ
 9                                       United States District Court Judge
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